                  Case: 5:20-mj-01030-KBB Doc #: 10-1 Filed: 02/12/20 1 of 1. PageID #: 47
AO 94 (Rev. 06/09) Commitment to Another District



                                     UNITED STATES DISTRICT COURT
                                                                                                                     ),/('
                                                                                                         5:17 pm Feb 11 2020
                                                                   for the
                                                                                                        &OHUN86'LVWULFW&RXUW
                                                       NorthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                           Ohio
                                                                                                        1RUWKHUQ'LVWULFWRI2KLR
                                                                                                                 $NURQ
                  United States of America                           )
                             v.                                      )
                                                                     )       Case No. 5:20mj1030
                                                                     )
                  LARRY DEAN HARMON                                  )         Charging District’s
                           Defendant                                 )         Case No.    19-cr-395

                                            COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the                                 District of Columbia                               ,
(if applicable)                                      division. The defendant may need an interpreter for this language:
                                                               .

          The defendant:        ✔ will retain an attorney. +DVDOUHDG\UHWDLQHGFRXQVHO 
                                u                                                                                    
          The defendant remains in custody after the initial appearance.



         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date:             02/11/2020
                                                                                          Judge’s signature

                                                                             KATHLEEN B. BURKE, U.S. Magistrate Judge
                                                                                        Printed name and title
